          Case 5:20-cr-00095-FB Document 70 Filed 03/30/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION
USA                                             §
                                                §      CRIMINAL NO:
vs.                                             §      SA:20-CR-00095(2)-FB
                                                §
(2) Christopher Montoya                         §

           ORDER SETTING BOND REVOCATION HEARING
         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
BOND REVOCATION HEARING in Courtroom 2, on the First Floor of the John H. Wood,
Jr. United States Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX, on
Tuesday, April 06, 2021 at 08:00 AM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 30th day of March, 2021.




                                                ______________________________
                                                FRED BIERY
                                                UNITED STATES DISTRICT JUDGE
